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 UNITEP STATES OF AM ERICA

                                                casexo.V .'/rY 3e
 BRIAN W ALTER M ARTIN                          SEALED INDICTM ENT

                                                In violation of:
                                                18U.S.C.j 922(g)(1)


                                        CO U N T O NE

       The Grand Jury chargesthat:

           On oraboutApril22,2018,in theW estem JudicialDistrictofVirgirlia,the

defendant,BIUAN WALTER MARTW ,havingbeenpreviouslfconvictedofacrime
plnishablebyimprisonm entforaterm exceeding oneyear,did knowinglypossessafirearm ,to

wita B eretta,m odel9508,.22 caliberpistol,sedalnlzm ber obliterated,wllich previously had

been shipped and transported in interstate orforeign com m erce.

       2. A11inviolationofTitle 18,United StatesCode,j922(g)'
                                                            (1).


                                    N O TICE OF FO RFE ITU R E

       1. Upon conviction ofthe offenseallegedin tlzisIndictment,BRIAN W ALTER

M ARTW shallforfeitto theUnited Statesany firearm oram mllnitionsinvolved in orused in

any m annerto com m ittheviolations;

       2. The property to be forfeited to the United Statesincludesbutisnotlim ited to the

follow ing property:




   Case 4:18-cr-00035-EKD Document 3 Filed 12/06/18 Page 1 of 2 Pageid#: 3
               (a) FirearmsandAmmunition
               Beretta,m odel9508,.22 caliberpistol,serialnum berobliterated,and
               m iscellaneousam munition.

            Ifany oftheabovedescribed forfeitableproperty,asaresultofany actoromission of

thedefendantcannotbelocatedupontheexerciseofduedilkence;hasbeentransferredorsold
toordepositedwithathirdperson;hasbeenplacedbeyondthejudsdictionoftheCourt;has
been substantially dim inished in value;orhasbeen com mingled with otherproperty which

cazmotbesubdividçdwithoutdifficulty;itistheintentoftheUrlited Statesto seek forfeitureof

any otherproperty ofthedefendantup to thevalueoftheabovedescdbed forfeitableproperty

pursuantto21U.S.C.j853û9.
            A11inaccordancewithTitle18,United StateqCode,j924(d),andTitle28,United
StatesCode,j2461(c).

                         +ù
ATRUEBILL,tllis V             dayofDecember,2018.


                                                        ISIFOREPERSON
                                                        FOREPER SON
        *




ThomasT.Cullen
United States Attorney




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